 Case 11-27934     Doc 799     Filed 08/15/18 Entered 08/15/18 14:44:13           Desc Main
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Dated: August 15, 2018
The following is SO ORDERED:


                                                 ________________________________________
                                                              Paulette J. Delk
                                                    UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
  ________________________________________________________________________
  IN RE:
         ARNOLD R. DORMER, JR.                    Case No. 11-27934-PJD

                 Debtors.                                     Chapter 11
  ________________________________________________________________________

          ORDER GRANTING EMERGENCY MOTION TO REOPEN CASE
  ________________________________________________________________________

         This case came on for hearing upon the Reorganized Debtor's Emergency Motion

  to Reopen Case for the Purpose of Enforcing Terms of the Confirmed Plan and to Apply

  for Discharge, and based on the statements of counsel and the record as a whole, no

  objection having been made or filed, it appears that the Motion is well taken and should

  be granted.

         IT IS, THEREFORE, ORDERED that this case be and is hereby reopened.
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          IT IS FURTHER ORDERED that the reopening fee be and is hereby waived for

 good cause shown.

 Approved by:

 /s/ Russell W. Savory

 Russell W. Savory (12786)
 Attorney for Debtor
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 Memphis, TN 38103
 901-523-1110

 Parties to be served:

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